              Case 1:14-cr-00227-TCB-RGV Document 155 Filed 04/28/17 Page 1 of 2




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

             UNITED STATES OF AMERICA                    CRIMINAL FILE NO.
                          v.                             1:14-CR-0227-2-TCB
             DAVID LEE,
                               Defendant.

                                              ORDER

                  Defendant Lee has orally moved to continue the re-trial of his case.

             The Government does not oppose this motion, therefore it is GRANTED.

                  The trial shall now commence on November 6, 2017, at 9:30 a.m. in

             Courtroom 2106 of the United States District Court in Atlanta. The

             pretrial conference is set for November 2, 2017 at 10:00 a.m. in Courtroom

             2106. Motions in limine and proposed voir dire shall be filed on or before

             October 16, 2017, and responses to motions in limine shall be filed on or

             before October 23, 2017. Only one consolidated motion in limine shall be

             filed by each party and the motion shall not exceed 25 pages. The

             response brief to the motion in limine shall not exceed 25 pages.

                  The time between the date of the first trial and the beginning of the

             re-trial on November 6, 2017, shall be excluded in calculating the date on




AO 72A
(Rev.8/82)
              Case 1:14-cr-00227-TCB-RGV Document 155 Filed 04/28/17 Page 2 of 2




             which the trial of this case must commence under the Speedy Trial Act

             because the Court finds that the delay is for good cause, and the interests

             of justice in granting the continuance outweigh the right of the public and

             the right of the defendant to a speedy trial, pursuant to 18 U.S.C. § 3161,

             et seq.

                   IT IS SO ORDERED this 28th day of April, 2017.




                                               _________________________________
                                               TIMOTHY C. BATTEN, SR.
                                               UNITED STATES DISTRICT JUDGE




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AO 72A
(Rev.8/82)
